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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


  ARANTZA ESPINOZA,                                            CASE NO.

         Plaintiff,

  vs.

  MARC JACOBS INTERNATIONAL, LLC., a Foreign
  Limited Liability Company D/B/A MARC JACOBS

        Defendant.
  ____________________________________________/

                          COMPLAINT FOR DECLARATORY AND
                      INJUNCTIVE RELIEF, AND JURY TRIAL DEMAND

         Plaintiff, ARANTZA ESPINOZA, through undersigned counsel, sues Defendant, MARC

  JACOBS INTERNATIONAL, LLC., a foreign limited liability company d/b/a MARC JACOBS

  (hereinafter referred to as “MARC JACOBS”), for declaratory and injunctive relief, and damages,

  and alleges as follows:

  This action is brought under Title III of the Americans with Disabilities Act (“ADA”), that is

  codified in 42 U.S.C. §§12181-12189.

  1)     This action is also brought pursuant to 28 C.F.R. Part 36.

  2)     This Court has jurisdiction over this case based on federal question jurisdiction, as provided

  in 28 U.S.C. §1331 and the provisions of the ADA.

  3)     Furthermore, because this Court has jurisdiction over the ADA claim, the Court has

  supplementary jurisdiction over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.

  4)     Plaintiff is sui juris, and she is disabled as defined by the ADA and ADA Amendments Act

  of 2008, 42 U.S.C. §12101 (“ADAAA”).

  5)     Plaintiff seeks declaratory and injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202.

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  6)     Plaintiff desires to prevent discrimination and demands equal access to Defendant’s

  internet website to purchase a small wristlet.

  7)     Plaintiff also seeks declaratory and injunctive relief for trespass against the Plaintiff’s

  computer. The computer is Plaintiff’s personal property, and a claim for trespass attached to same.

  8)     The Defendant is also liable for compensatory damages to Plaintiff as a result of the

  trespass to Plaintiff’s personal property.

  9)     The remedies provided under common law for trespass are not exclusive, and same may

  be sought in connection with suits brought under the ADA.

  10)    Venue is proper in the Southern District of Florida, Miami-Dade Division, since all events,

  actions, injuries, and damages complained of herein occurred in the Southern District of Florida.

  11)    Furthermore, Plaintiff is a resident of Miami-Dade County which falls within the Miami

  Division of the Southern District of Florida.

  12)    At all relevant times, Plaintiff is and was visually impaired and has Leber Congenital

  Amaurosis since birth that substantially impairs Plaintiff’s vision whereby her vision fluctuates

  from 20/250 to 20/800.

  13)    Plaintiff’s visual impairment interferes with her day-to-day activities and causes limitations

  in visualizing her environment. As such, Plaintiff is a member of a protected class under the ADA,

  42 U.S.C. § 12102(1) - (2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101,

  et seq., and in 42 U.S.C. 3602, §802(h).

  14)    In addition, Plaintiff is an advocate of the rights of similarly situated disabled persons. As

  such is a “tester” for the purposes of asserting her civil rights and monitoring, ensuring, and

  determining whether places of public accommodation and/or their respective and associated




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  websites are in compliance with the ADA and any other applicable disability laws, regulations,

  and ordinances.

  15)    Plaintiff is limited in the performance of major life activities due to her visual disability

  and she requires assistive technologies, auxiliary aids, and services for effective communication,

  including communication in connection with her use of a computer.

  16)    Plaintiff uses the computer regularly, but due to her visual disability, Plaintiff cannot use

  her computer without the assistance of appropriate and available auxiliary aids, screen reader

  software, and other technology and assistance. In order to assist her, Plaintiff uses NVDA screen

  reader software that is readily available commercially. As background, screen reader software

  translates the visual internet into an auditory equivalent. The software reads the content of a

  webpage to the user at a rapid pace.

  17)    “The screen reading software uses auditory cues to allow a visually impaired user to

  effectively use websites. For example, when using the visual internet, a seeing user learns that a

  link may be ‘clicked,’ which will bring her to another webpage, through visual cues, such as a

  change in the color of the text (often text is turned from black to blue). When the sighted user's

  cursor hovers over the link, it changes from an arrow symbol to a hand. The screen reading

  software uses auditory -- rather than visual -- cues to relay this same information. When a sight

  impaired individual reaches a link that may be ‘clicked on,’ the software reads the link to the user,

  and after reading the text of the link says the word ‘clickable.’…Through a series of auditory cues

  read aloud by the screen reader, the visually impaired user can navigate a website by listening and

  responding with her keyboard.” Andrews v. Blick Art Materials, LLC, 17-CV-767, 2017 WL

  6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).




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  18)    Plaintiff frequently accesses the internet. Because she is significantly and permanently

  visually disabled, to effectively communicate and comprehend information available on the

  internet and thereby access and comprehend websites, Plaintiff uses commercially available screen

  reader software to interface with the various websites.

  19)    Defendant, MARC JACOBS, is a foreign limited liability company authorized to do

  business and doing business in the State of Florida.

  20)    Defendant, MARC JACOBS, is a company that sells women, and kids clothing, bags,

  wallets, jewelry, shoes, fragrances, and accessories. There is a retail location in Miami-Dade

  County.

  21)    At all times material hereto, Defendant was and still is a private entity which owns and

  operates retail locations under the brand name “MARC JACOBS”. The stores are open to the

  public, and each of Defendant’s locations is defined as a “public accommodation" within the

  meaning of Title III of the ADA because Defendant is a private entity which owns and/or operates

  “[A] bakery, grocery store, clothing store, hardware store, shopping center, or other sales or rental

  establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

  22)    Because Defendant is a store open to the public, each of Defendant’s physical stores is a

  place of public accommodation subject to the requirements of the ADA, 42 U.S.C. §12182,

  §12181(7)(B), and its implementing regulations, 28 C.F.R. Part 36.

  23)    At all times material hereto, Defendant was and still is an organization owning and

  operating the website located at https://www.marcjacobs.com/us-en/. Since the website is open

  through the internet to the public as an extension of the retail stores, by this nexus the website is

  an intangible service, privilege and advantage of Defendant’s brick and mortar locations, the

  Defendant has subjected itself and the associated website it created and maintains to the


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  requirements of the ADA. The website also services Defendant’s physical stores by providing

  information on its brand and other information that Defendant is interested in communicating to

  its customers about its physical locations.

  24)    Since the website allows the public the ability to view the products available at Defendant’s

  locations, purchase products, through Defendant’s website, subscribe to Defendant’s newsletter,

  create an account and register to track orders, create a wish list, and learn the story behind

  Defendant’s brand, the website is an extension of, and gateway to, Defendant’s physical stores

  which are places of public accommodation pursuant to 42 U.S.C. § 12181(7)(E). By this nexus

  between Defendant’s retail store locations and the Website, and the fact that the Website clearly

  provides support for and is connected to Defendant’s stores for its operation and use, the Website

  is an intangible service, privilege, and advantage of Defendant’s brick-and-mortar stores that must

  comply with all requirements of the ADA. The Website must not discriminate against individuals

  with disabilities, and must not deny those individuals the same full and equal access to and

  enjoyment of the goods, services, privileges, and advantages as afforded the non-visually disabled

  public both online and in the physical stores, which are places of public accommodations subject

  to the requirements of the ADA.

  25)    Plaintiff sought to, seeks to and intends to patronize, in the near future once the Website’s

  access barriers are removed or remedied, one or more of Defendant’s physical retail locations,

  check store hours and product pricing and place online orders. In the alternative, Plaintiff intends

  to monitor the Website in the near future as a tester to ascertain whether it has been remedied and

  updated to interact properly with screen reader software.

  26)    Traveling outside of her home as a visually disabled individual is often a difficult,

  hazardous, frightening, frustrating, and confusing experience, thus the opportunity to shop and pre-


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  shop Defendant’s products, plan her visits, and to compare products, services, prices, sales,

  discounts, and promotions are important and necessary accommodations for Plaintiff because

  Defendant has not provided its business information in any other digital format that is accessible

  for use by blind and visually disabled individuals using screen reader software.

  27)    During the month of June 2024, Plaintiff attempted on a number of occasions to utilize the

  Website to browse through the merchandise and online offers to educate herself as to the

  merchandise, sales, discounts, and promotions being offered, learn about the brick-and-mortar

  location, check store hours, and check product pricing with the intent to make a purchase through

  the Website or in one of the physical locations and with the intent to make a purchase through the

  website or at one of Defendant’s physical stores. Plaintiff also attempted to access and utilize the

  Website in her capacity as a tester to determine whether it was accessible to blind and visually

  disabled persons such as herself who use screen reader software to access and navigate company

  websites.

  28)    Plaintiff utilized NVDA (“Screen Reader Software”) that allows individuals who are blind

  and visually disabled to communicate with websites. However, Defendant’s Website contains

  access barriers that prevent free and full use by blind and visually disabled individuals using

  keyboards and available screen reader software. Plaintiff attempted to purchase clothing on

  Defendant’s website. However, the Plaintiff was not able to freely and fully use Defendant’s

  website because it contains access barriers that make it inaccessible to persons with disabilities,

  and for which there is no reasonable accommodation for the Plaintiff.

  29)    Defendant’s Website contains access barriers that prevent free and full use by blind and

  visually disabled individuals using keyboards and available screen reader software. These barriers

  are pervasive and include, but are not limited to:


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         Marc Jacobs      https://www.marcjacobs.com/us-en/home



        System settings while doing the review:

        Operating system: Windows 11

        Browser: Google Chrome v. 125.0.6422.142

        Screen Reader: NVDA v. 2024.1



        Barriers

        •   User cannot bypass blocks of content.

        •   User cannot navigate to all elements.

        •   User is not able to operate the chat modal.

        •   User cannot operate the leave your marc form.

        •   User cannot operate the Delivery information form.

        •   User cannot operate the Email & Login form.

        •   User cannot navigate the site in a meaningful way.



        Violation : 2.1.1 Keyboard

        All functionality of the content is operable through a keyboard interface without requiring

        specific timings for individual keystrokes, except where the underlying function requires

        input that depends on the path of the user's movement and not just the endpoints.

        When the user navigates the main page, the skip main content link/button is not reachable

        using a keyboard. the user cannot navigate the site.

        Applicable WCAG 2.1 Standard at Issue: 2.1.1 Keyboard (Level A)

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        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/home

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/Ebm8GSJiS19DsNmVInAkuzsB9qkdTFGbW

        12exR1FLlwpoA



        Violation : 2.4.1 Bypass Blocks

        A mechanism is available to bypass blocks of content that are repeated on multiple Web

        pages

        When the user navigates the home page (as well as other pages), there is no mechanism

        to bypass the navigation menus or footer. The user cannot navigate the site.

        Applicable WCAG 2.1 Standard at Issue: 2.4.1 Bypass Blocks (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/home

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/EZFg2XS33wRBvKbqdi1gmhoBA_kYe6Zp0

        nELfyjNtBxOYA



        Violation : 1.1.1 Non-text Content

        All non-text content that is presented to the user has a text alternative that serves the

        equivalent purpose, except for the situations listed below. Controls, Input If non-text

        content is a control or accepts user input, then it has a name that describes its purpose.

        (Refer to Success Criterion 4.1.2 for additional requirements for controls and content that


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        accepts user input.) Time-Based Media If non-text content is time-based media, then text

        alternatives at least provide descriptive identification of the non-text content. (Refer to

        Guideline 1.2 for additional requirements for media.) Test If non-text content is a test or

        exercise that would be invalid if presented in text, then text alternatives at least provide

        descriptive identification of the non-text content. Sensory If non-text content is primarily

        intended to create a specific sensory experience, then text alternatives at least provide

        descriptive identification of the non-text content. CAPTCHA If the purpose of non-text

        content is to confirm that content is being accessed by a person rather than a computer,

        then text alternatives that identify and describe the purpose of the non-text content are

        provided, and alternative forms of CAPTCHA using output modes for different types of

        sensory perception are provided to accommodate different disabilities. Decoration,

        Formatting, Invisible If non-text content is pure decoration, is used only for visual

        formatting, or is not presented to users, then it is implemented in a way that it can be

        ignored by assistive technology.

        The prev and next buttons on the carousel have no descriptions. The user cannot operate

        this carousel.

        Applicable WCAG 2.1 Standard at Issue: 1.1.1 Non-text Content (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/home

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/EUMt-tUCvIFBp9_gzywVohQBgKuTh-A-

        wyRa2Ot9D2JzXw




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        Violation : 2.4.3 Focus Order

        If a Web page can be navigated sequentially and the navigation sequences affect meaning

        or operation, focusable components receive focus in an order that preserves meaning and

        operability.

        When the user navigates the home page, focus goes from the navigation menus at the top

        to the shop now button. Since content in between does not receive focus in a meaningful

        sequence, the user cannot access it.

        Applicable WCAG 2.1 Standard at Issue: 2.4.3 Focus Order (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/home

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/EVDKcfh0lJBLvANVt5bu4yIBcJUIJWTgcrI9

        rredMrKV_Q



        Violation : 3.3.1 Error Identification

        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.

        When the user operates the chat form in the chat modal, and enters an invalid email

        address, there is no message to inform the user of such error.

        Applicable WCAG 2.1 Standard at Issue: 3.3.1 Error Identification (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/home

        Screen Capture Evidence:


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        https://askbizit.sharepoint.com/:v:/s/ADA/EUZN4Zw6mthKo08tPYGBA7cB57O6CADn

        XHcsgFQ1p3GXzw



        Violation : 3.3.1 Error Identification

        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.

        When the user operates the leave your marc form and enters an incorrect email address,

        there is no message to inform the user of the error.

        Applicable WCAG 2.1 Standard at Issue: 3.3.1 Error Identification (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/home

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/EUITopAGgYREkHB8ay_sih4BMvospaqUZ

        Qh7MoTkxn0Elw



        Violation : 2.1.1 Keyboard

        All functionality of the content is operable through a keyboard interface without requiring

        specific timings for individual keystrokes, except where the underlying function requires

        input that depends on the path of the user's movement and not just the endpoints.

        When the user operates the chat modal, the end chat button does not close the chat modal.

        Applicable WCAG 2.1 Standard at Issue: 2.1.1 Keyboard (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/home


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        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/ERp-S-

        ZVMrhMnU0ONEvOzpEBAofN3l3QKjorHih3yyg1yw



        Violation : 1.1.1 Non-text Content

        All non-text content that is presented to the user has a text alternative that serves the

        equivalent purpose, except for the situations listed below. Controls, Input If non-text

        content is a control or accepts user input, then it has a name that describes its purpose.

        (Refer to Success Criterion 4.1.2 for additional requirements for controls and content that

        accepts user input.) Time-Based Media If non-text content is time-based media, then text

        alternatives at least provide descriptive identification of the non-text content. (Refer to

        Guideline 1.2 for additional requirements for media.) Test If non-text content is a test or

        exercise that would be invalid if presented in text, then text alternatives at least provide

        descriptive identification of the non-text content. Sensory If non-text content is primarily

        intended to create a specific sensory experience, then text alternatives at least provide

        descriptive identification of the non-text content. CAPTCHA If the purpose of non-text

        content is to confirm that content is being accessed by a person rather than a computer,

        then text alternatives that identify and describe the purpose of the non-text content are

        provided, and alternative forms of CAPTCHA using output modes for different types of

        sensory perception are provided to accommodate different disabilities. Decoration,

        Formatting, Invisible If non-text content is pure decoration, is used only for visual

        formatting, or is not presented to users, then it is implemented in a way that it can be

        ignored by assistive technology.


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        The description of the image associated to the gift links in the main navigation menu is

        incorrect. The user cannot navigate the site.

        Applicable WCAG 2.1 Standard at Issue: 1.1.1 Non-text Content (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/home

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/Eb3skKCncuRBtGraNp6wob0BuYH1Z_y-

        ekl1I5pS_Os89w



        Violation : 2.1.1 Keyboard

        All functionality of the content is operable through a keyboard interface without requiring

        specific timings for individual keystrokes, except where the underlying function requires

        input that depends on the path of the user's movement and not just the endpoints.

        When the user cannot reach the the link/button Skip To Main Content using a keyboard.

        Applicable WCAG 2.1 Standard at Issue: 2.1.1 Keyboard (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/the-marc-jacobs/featured/the-tote-shop/

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/Eb9J1n4gmThKuFH7nsiGqnIBBo7Cyit1iaz2q

        Z4tDaFm1A



        Violation : 2.4.1 Bypass Blocks




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        A mechanism is available to bypass blocks of content that are repeated on multiple Web

        pages

        When the user navigates The Tote Shop page, there is no navigation to by pass the main

        navigation menus or the Footer sections.

        Applicable WCAG 2.1 Standard at Issue: 2.4.1 Bypass Blocks (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/the-marc-jacobs/featured/the-tote-shop/

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/EbtXviJ18iVKtMrio7-1IxUB-

        2RVFGWO6OtnrMjVOLFaZA



        Violation : 2.4.3 Focus Order

        If a Web page can be navigated sequentially and the navigation sequences affect meaning

        or operation, focusable components receive focus in an order that preserves meaning and

        operability.

        When the user operates the filters in the Filter modal, the price section does not receive

        focus; instead focus is given to the Reset button. The focus order cannot be navigated in a

        sequential order to preserve operability.

        Applicable WCAG 2.1 Standard at Issue: 2.4.3 Focus Order (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/the-marc-jacobs/featured/the-tote-shop/

        Screen Capture Evidence:




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        https://askbizit.sharepoint.com/:v:/s/ADA/EdDt47ZunLFCsHOrnTntiKIBdGvbG6u_EvJ

        bSFvbflCX7g



        Violation : 1.3.2 Meaningful Sequence

        When the sequence in which content is presented affects its meaning, a correct reading

        sequence can be programmatically determined.

        After the sort modal is closed, the page cannot be navigated in a sequential order and the

        meaningful sequence is not preserved.

        Applicable WCAG 2.1 Standard at Issue: 1.3.2 Meaningful Sequence (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/the-marc-jacobs/featured/the-tote-shop/

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/ES1p3kliitNNjHGYUSCCI-

        YBKKOxjBAGzd7iil7SP96XTQ



        Violation : 1.1.1 Non-text Content

        All non-text content that is presented to the user has a text alternative that serves the

        equivalent purpose, except for the situations listed below. Controls, Input If non-text

        content is a control or accepts user input, then it has a name that describes its purpose.

        (Refer to Success Criterion 4.1.2 for additional requirements for controls and content that

        accepts user input.) Time-Based Media If non-text content is time-based media, then text

        alternatives at least provide descriptive identification of the non-text content. (Refer to

        Guideline 1.2 for additional requirements for media.) Test If non-text content is a test or


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        exercise that would be invalid if presented in text, then text alternatives at least provide

        descriptive identification of the non-text content. Sensory If non-text content is primarily

        intended to create a specific sensory experience, then text alternatives at least provide

        descriptive identification of the non-text content. CAPTCHA If the purpose of non-text

        content is to confirm that content is being accessed by a person rather than a computer,

        then text alternatives that identify and describe the purpose of the non-text content are

        provided, and alternative forms of CAPTCHA using output modes for different types of

        sensory perception are provided to accommodate different disabilities. Decoration,

        Formatting, Invisible If non-text content is pure decoration, is used only for visual

        formatting, or is not presented to users, then it is implemented in a way that it can be

        ignored by assistive technology.

        The images in the image modal in a product's page have no description. The user cannot

        identify which image is being selected. The user cannot operate the site.

        Applicable WCAG 2.1 Standard at Issue: 1.1.1 Non-text Content (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/the-nano-tote-bag-charm/2F3SCP005S07-140.html

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/EQq_o-WpUDBJqacQw3eA3jQBQc2-

        8HDnSUN-0WQG3Ygz-A



        Violation : 2.4.4 Link Purpose




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        The purpose of each link can be determined from the link text alone or from the link text

        together with its programmatically determined link context, except where the purpose of

        the link would be ambiguous to users in general.

        The links after AfterPay and Klarna have no description of their purpose.

        Applicable WCAG 2.1 Standard at Issue: 2.4.4 Link Purpose (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/the-nano-tote-bag-charm/2F3SCP005S07-140.html

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/EbxxnKsi1dVGqONG1YQyMdsBBlEtjpH79k

        47tESK4b9PKA



        Violation : 1.3.2 Meaningful Sequence

        When the sequence in which content is presented affects its meaning, a correct reading

        sequence can be programmatically determined.

        While the user navigates the product slider at the bottom of the Nano Tote Bag Charm

        page, focus sequence is not preserved; the Enjoy Complimentary Shipping modal

        receives focus instead of the next sections on that page.

        Applicable WCAG 2.1 Standard at Issue: 1.3.2 Meaningful Sequence (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/the-nano-tote-bag-charm/2F3SCP005S07-140.html

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/ETx-eltRAAFAnl-

        9UBqU2rIBDKCfW540TBMkPpDbRQMCDw


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        Violation : 3.3.2 Labels or Instructions

        Labels or instructions are provided when content requires user input.

        When the user operates the shopping bag form and increases the quantity of the items, the

        incorrect quatity is communicated to the user. The user cannot operate this form.

        Applicable WCAG 2.1 Standard at Issue: 3.3.2 Labels or Instructions (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/cart

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/ER2wPTmSo_ZCiogmUL-

        IUrgBosiz4VsSVINsSrKVMMGGmA



        Violation : 3.3.1 Error Identification

        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.

        When the user operates the promo code form in the cart page an enters an incorrect email,

        the screen reader cannot inform the user of such error.

        Applicable WCAG 2.1 Standard at Issue: 3.3.1 Error Identification (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/cart

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/ER20oLAX-15EvXytNGn9lFABXDX-

        fX2J8aFjp3C2RAup9g




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        Violation : 3.3.1 Error Identification

        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.

        When the user operates the Email & Login form and enters an invalid email address, the

        screen reader does not inform the user of such error.

        Applicable WCAG 2.1 Standard at Issue: 3.3.1 Error Identification (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/checkout?stage=login#login

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/ET0iZOgB4IJPo_XFinyIkIQBpS-

        BfEoNvzSJ4w--L0gBrA



        Violation : 3.3.2 Labels or Instructions

        Labels or instructions are provided when content requires user input.

        When the user operates the Confirm Your Address modal and selects the We Suggest

        address, there is no message to inform the user that the Delivery information form was

        not updated and its field values need to be revised.

        Applicable WCAG 2.1 Standard at Issue: 3.3.2 Labels or Instructions (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/checkout?stage=login#login

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/EYOx3YCWRqRIhQmigMVuNG8B-

        pqzvI143mk6CoH55cftaA


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        Violation : 1.3.2 Meaningful Sequence

        When the sequence in which content is presented affects its meaning, a correct reading

        sequence can be programmatically determined.

        After the user presses the save and continue button on the Email and Login form, the

        meaningful sequence of the page is not preserved.

        Applicable WCAG 2.1 Standard at Issue: 1.3.2 Meaningful Sequence (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/checkout?stage=login#login

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/EZT-

        LlsO6HNLmUYfd9sauGkB6ZoFz5int5d7FN8oRJjaZQ



        Violation : 3.3.1 Error Identification

        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.

        When the user operates the Delivery information form in the checkout page and enters a

        space in the zip code field, there is no message to indicate that an invalid character was

        entered, the space character.

        Applicable WCAG 2.1 Standard at Issue: 3.3.1 Error Identification (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/checkout?stage=login#login

        Screen Capture Evidence:




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        https://askbizit.sharepoint.com/:v:/s/ADA/EYPRIv9cI-BBk8cQulc9n-

        MB1jjXXZ0hYwWefoOxllK4sw



        Violation : 1.1.1 Non-text Content

        All non-text content that is presented to the user has a text alternative that serves the

        equivalent purpose, except for the situations listed below. Controls, Input If non-text

        content is a control or accepts user input, then it has a name that describes its purpose.

        (Refer to Success Criterion 4.1.2 for additional requirements for controls and content that

        accepts user input.) Time-Based Media If non-text content is time-based media, then text

        alternatives at least provide descriptive identification of the non-text content. (Refer to

        Guideline 1.2 for additional requirements for media.) Test If non-text content is a test or

        exercise that would be invalid if presented in text, then text alternatives at least provide

        descriptive identification of the non-text content. Sensory If non-text content is primarily

        intended to create a specific sensory experience, then text alternatives at least provide

        descriptive identification of the non-text content. CAPTCHA If the purpose of non-text

        content is to confirm that content is being accessed by a person rather than a computer,

        then text alternatives that identify and describe the purpose of the non-text content are

        provided, and alternative forms of CAPTCHA using output modes for different types of

        sensory perception are provided to accommodate different disabilities. Decoration,

        Formatting, Invisible If non-text content is pure decoration, is used only for visual

        formatting, or is not presented to users, then it is implemented in a way that it can be

        ignored by assistive technology.




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        When the user navigates to the Payment form, there is no image description of the

        accepted credit card types.

        Applicable WCAG 2.1 Standard at Issue: 1.1.1 Non-text Content (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/checkout?stage=login#login

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/Ebo6HYXl7AtPotWrzd4O3dYB-

        fEnjdn0uC2Fi_BdG6MXGw



        Violation : 3.3.1 Error Identification

        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.

        When the user operates the payment form in the checkout page and enters a space in the

        CCV field, there is no message to indicate that an invalid character was entered, the space

        character.

        Applicable WCAG 2.1 Standard at Issue: 3.3.1 Error Identification (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/checkout?stage=login#login

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/EUrK7qf38NZArLSdK7GFJKwBJV25ujSdC

        KHIs6JkK_X5Lg



        Violation : 2.4.4 Link Purpose


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        The purpose of each link can be determined from the link text alone or from the link text

        together with its programmatically determined link context, except where the purpose of

        the link would be ambiguous to users in general.

        The links to edit the Email and Login, and Delivery information forms have no

        description of their purpose.

        Applicable WCAG 2.1 Standard at Issue: 2.4.4 Link Purpose (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/checkout?stage=login#login

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/Ea1W5oNNSGhAqVNrG91PDp8BR1tPguzF

        wo1PzwNjgZoXWg



        Violation : 3.3.2 Labels or Instructions

        Labels or instructions are provided when content requires user input.

        When the user oprates the payment form in the checkout page, the information about the

        radio button selected is innacurate.

        Applicable WCAG 2.1 Standard at Issue: 3.3.2 Labels or Instructions (Level A)

        URL Where Issue Was Encountered:

        https://www.marcjacobs.com/us-en/checkout?stage=login#login

        Screen Capture Evidence:

        https://askbizit.sharepoint.com/:v:/s/ADA/EbNw5R5Kf0tNnYpyS5AbVIgB6QARgLJ_Z

        MXCRdxBLhUcjQ




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  30)    Although the Website appeared to have an “accessibility” statement displayed and an

  “accessibility” widget/plugin added, the “accessibility” statement and widget/plugin, when tested,

  still could not be effectively accessed by, and continued to be a barrier to, blind and visually

  disabled persons, including Plaintiff as a completely blind person. Plaintiff, although she attempted

  to access the statement, thus, was unable to receive any meaningful or prompt assistance through

  the “accessibility” statement and the widget/plugin to enable her to quickly, fully, and effectively

  navigate the Website.

  31)    The fact that Plaintiff could not communicate with or within the Website left her feeling

  excluded, as she is unable to participate in the same shopping experience, with the same access to

  the merchandise, sales, discounts, and promotions, as provided at the Website and in the physical

  locations as the non-visually disabled public.

  32)    Plaintiff desires and intends, in the near future once the Website’s access barriers are

  removed or remedied, to patronize one or more of Defendant’s physical stores and to use the

  Website, but she is presently unable to do so as she is unable to effectively communicate with

  Defendant, due to her severe visual disability and the Website’s access barriers. Alternatively, as

  a tester using screen reader software, Plaintiff is unable to effectively access, navigate, and

  communicate with Defendant through the Website due to her severe visual disability and the

  Website’s access barriers. Thus, Plaintiff, as well as others who are blind and with visual

  disabilities, will suffer continuous and ongoing harm from Defendant’s intentional acts, omissions,

  policies, and practices as set forth herein unless properly enjoined by this Court.

  33)    On information and belief, Defendant has not initiated a Web Accessibility Policy to ensure

  full and equal use of the Website by individuals with disabilities.




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  34)     On information and belief, Defendant has not instituted a Web Accessibility Committee to

  ensure full and equal use of Website by individuals with disabilities.

  35)     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

  36)     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

  37)     On information and belief, Defendant has not instituted a User Accessibility Testing Group

  to ensure full and equal use of the Website by individuals with disabilities.

  38)     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

  39)     On information and belief, Defendant has not instituted an Automated Web Accessibility

  Testing program.

  40)     Defendant has not created and instituted an effective Specialized Customer Assistance line

  or service or email contact mode for customer assistance for the visually disabled.

  41)     Defendant has not created and instituted on the Website a useful or accessible page for

  individuals with disabilities, nor displayed a link and information hotline, nor created an

  information portal explaining when and how Defendant will have the Website, applications, and

  digital assets accessible to the visually disabled or blind community.

  42)     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”) 2.0

  Level AA or higher versions of web accessibility.

  43)     Defendant has not disclosed to the public any intended audits, changes, or lawsuits to

  correct the inaccessibility of the Website to visually disabled individuals who want the safety and


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  privacy of purchasing Defendant’s products offered on the Website and in the physical stores from

  their homes.

  44)     Defendant thus has not provided full and equal access to and enjoyment of the goods,

  services, facilities, privileges, advantages, and accommodations provided by and through the

  Website and their physical stores in contravention of the ADA.

  45)     Public accommodations under the ADA must ensure that their places of public

  accommodation provide effective communication for all members of the general public, including

  individuals with visual disabilities such as Plaintiff.

  46)     The broad mandate of the ADA is to provide an equal opportunity for individuals with

  disabilities to participate in and benefit from all aspects of American civic and economic life. That

  mandate extends to internet shopping websites such as the Website at issue in the instant action.

  47)     Defendant is, and at all relevant times has been, aware of the barriers to effective

  communication within the Website which prevent individuals with visual disabilities from the

  means to comprehend information presented therein.

  48)     Defendant is, and at all relevant times has been, aware of the need to provide full access to

  all visitors to the Website.

  49)     The barriers that exist on the Website result in discriminatory and unequal treatment of

  individuals with visual disabilities, including Plaintiff.

  50)     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs alleged

  hereinabove, and this suit for declaratory judgment and injunctive relief is her only means to secure

  adequate and complete redress from Defendant’s unlawful and discriminatory practices in

  connection with its website access and operation.

  51)     Notice to Defendant is not required because of Defendant’s failure to cure the violations.


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  52)    Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28 U.S.C.

  §§2201 and 2202.

  53)    Plaintiff has retained the undersigned attorneys to represent her in this case and has agreed

  to pay them a reasonable fee for their services.



  COUNT I – VIOLATION OF THE ADA

  54)    Plaintiff realleges paragraphs 1 through 53 as if set forth fully herein.

  55)    Pursuant to 42 U.S.C. §12181(7)(B), Defendant is a public accommodation under the ADA

  and thus is subject to the ADA.

  56)    Pursuant to 42 U.S.C. §12181(7)(B), the Website is covered under the ADA because it

  provides the general public with the ability to view the products available at Defendant’s locations,

  purchase products through Defendant’s website, subscribe to Defendant’s newsletter, create an

  account and register to track orders, create a wish list, and learn the story behind Defendant’s

  brand. The Website thus is an extension of, gateway to, and intangible service, privilege, and

  advantage of Defendant’s physical locations. Further, the Website also serves to augment

  Defendant’s physical stores by providing the public information about the stores and by educating

  the public as to Defendant’s brand and available products merchandise sold through the Website

  and in the physical stores.

  57)    Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful discrimination

  to deny individuals with disabilities or a class of individuals with disabilities an opportunity to

  participate in or benefit from the goods, services, facilities, privileges, advantages, or

  accommodation, which is equal to the opportunities afforded to other individuals.




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  58)    Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”

  59)    In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps, as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

  60)    The Website must comply with the ADA, but it does not as specifically alleged hereinabove

  and below.

  61)    Because of the inaccessibility of the Website, individuals with visual disabilities are denied

  full and equal access to and enjoyment of the goods, information, and services that Defendant has

  made available to the public on the Website and in their physical stores in violation of 42 U.S.C.

  §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

  62)    The Website was subsequently visited by Plaintiff’s expert in June and the expert

  determination was that the same access barriers that Plaintiff had initially encountered, as well as

  numerous additional access barriers, existed. Defendant thus has made insufficient material

  changes or improvements to the Website to enable its full use and enjoyment by, and accessibility


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  to, blind and visually disabled persons such as Plaintiff. Also, when the Website was visited by

  the expert, although the Website appeared to have an “accessibility” statement and widget/plugin

  linked on and displayed from its home page, the “accessibility” statement and widget/plugin, when

  tested, still could not be effectively used or accessed by, and continued to be a barrier to, blind and

  visually disabled persons such as Plaintiff. Defendant furthermore has not disclosed to the public

  any intended audits, changes, or lawsuits to correct the inaccessibility of the Website to visually

  disabled individuals, nor has it posted on the Website an effective and useful “accessibility” notice,

  statement, or policy to provide blind and visually disabled person such as Plaintiff with a viable

  alternative means to access and navigate the Website. Defendant thus has failed to make reasonable

  modifications in its policies, practices, or procedures when such modifications are necessary to

  afford goods, services, facilities, privileges, advantages, or accommodations to individuals with

  disabilities, in violation of 28 C.F.R. §36.302. The lack of a viable and effective “accessibility”

  notice, policy, or statement and the numerous access barriers as set forth in the Declaration of

  Plaintiff’s expert, Mario Saavedra, attached hereto and the contents of which are incorporated

  herein by reference, continue to render the Website not fully accessible to users who are blind and

  visually disabled, including Plaintiff.

  63)    More violations may be present on other pages of the Website, which can and will be

  determined and proven through the discovery process in this case.

  64)    There are readily available, well-established guidelines on the internet for making Websites

  accessible to the blind and visually disabled. These guidelines have been followed by other large

  business entities in making their websites accessible. Examples of such guidelines include, but are

  not limited to, adding alt-text to graphics and ensuring that all functions can be performed using a

  keyboard. Incorporating such basic components to make the Website accessible would neither


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  fundamentally alter the nature of Defendant’s business nor would it result in an undue burden to

  Defendant.

  65)    Defendant has violated the ADA -- and continue to violate the ADA -- by denying access

  to the Website by individuals such as Plaintiff with visual disabilities who require the assistance

  of interface with screen reader software to comprehend and access internet websites. These

  violations within the Website are ongoing.

  66)    The ADA requires that public accommodations and places of public accommodation

  ensure that communication is effective.

  67)    According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice, text, and

  video-based telecommunications products and systems”.           Indeed, 28 C.F.R.§36.303(b)(2)

  specifically states that screen reader software is an effective method of making visually delivered

  material available to individuals who are blind or have low vision.

  68)    According to 28 C.F.R. §36.303(c), public accommodations must furnish appropriate

  auxiliary aids and services where necessary to ensure effective communication with individuals

  with disabilities: “In order to be effective, auxiliary aids and services must be provided in

  accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

  69)    Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate subtitle A

  of Title III of the ADA, which prohibits discrimination on the basis of disability by public

  accommodations, and requires places of public accommodation to be designed, constructed, and

  altered in compliance with the accessibility standards established by Part 36.




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  70)    As alleged hereinabove, the Website has not been designed to interface with the widely

  and readily available technologies that can be used to ensure effective communication, and thus

  violates the ADA.

  71)    As a direct and proximate result of Defendant’s failure to provide an ADA compliant

  Website, with a nexus to their brick-and-mortar stores, Plaintiff has suffered an injury in fact by

  being denied full access to, enjoyment of, and communication with Defendant’s Website and its

  physical stores.

  72)    Because of the inadequate development and administration of the Website, Plaintiff is

  entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

  ongoing disability discrimination.

  73)    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff

  appropriate and necessary injunctive relief, including an order to:

          i.     Require Defendant to adopt and implement a web accessibility policy to make

          publicly available and directly link from the homepage of the Website to a functional

          statement as to the Defendant’s policy to ensure persons with disabilities have full and

          equal access to and enjoyment of the goods, services, facilities, privileges, advantages,

          and accommodations through the Website and the physical locations.

          ii.    Require Defendant to take the necessary steps to make the Website readily

          accessible to and usable by blind and visually disabled users, and during that time period

          prior to the Website’s being made readily accessible, provide an effective alternative

          method for individuals with visual disabilities to access the information available on the

          Website until such time that the requisite modifications are made, and




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          iii.   Require Defendant to provide the appropriate auxiliary aids such that individuals

          with visual disabilities will be able to effectively communicate with the Website for

          purposes of viewing and locating Defendant’s stores and becoming informed of and

          purchasing Defendant’s products, and during that time period prior to the Website’s being

          designed to permit individuals with visual disabilities to effectively communicate, to

          provide an alternative method for individuals with visual disabilities to effectively

          communicate for such goods and services made available to the general public through

          the Website and the physical stores.

          iv.    Plaintiff is entitled to recover her reasonable attorney’s fees, costs, and expenses

          pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned

          counsel for the filing and prosecution of this action and has agreed to pay them a

          reasonable fee for their services.

  74)    WHEREFORE, Plaintiff requests entry of judgment in her favor and against Defendant for

  the following relief:

         a.      A declaration that Defendant’s website is in violation of the ADA;

         b.      An Order requiring Defendant, by a date certain, to update its website, and continue

         to monitor and update its website on an ongoing basis, to remove barriers in order that

         individuals with visual disabilities can access, and continue to access, the website and

         effectively communicate with the website to the full extent required by Title III of the

         ADA;




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        c.     An Order requiring Defendant, by a date certain, to clearly display the universal

        disabled logo within its website, wherein the logo 1would lead to a page which would state

        Defendant’s accessibility information, facts, policies, and accommodations. Such a clear

        display of the disabled logo is to ensure that individuals who are disabled are aware of the

        availability of the accessible features of the website;

        d.     An Order requiring Defendant, by a date certain, to provide ongoing support for

        web accessibility by implementing a website accessibility coordinator, a website

        application accessibility policy, and providing for website accessibility feedback to insure

        compliance thereto.

        e.     An Order directing Defendant, by a date certain to evaluate its policies, practices

        and procedures toward persons with disabilities, for such reasonable time to allow

        Defendant to undertake and complete corrective procedures to its website;

        f.     An Order directing Defendant, by a date certain, to establish a policy of web

        accessibility and accessibility features for its website to insure effective communication

        for individuals who are visually disabled;

        g.     An Order requiring, by a date certain, that any third-party vendors who participate

        on Defendant’s website to be fully accessible to the visually disabled;

        h.     An Order directing Defendant, by a date certain and at least once yearly thereafter,

        to provide mandatory web accessibility training to all employees who write or develop

        programs or code for, or who publish final content to, Defendant’s website on how to




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         conform all web content and services with ADA accessibility requirements and applicable

         accessibility guidelines;

         i.        An Order directing Defendant, by a date certain and at least once every three

         months thereafter, to conduct automated accessibility tests of its website to identify any

         instances where the website is no longer in conformance with the accessibility

         requirements of the ADA and any applicable accessibility guidelines, and further directing

         Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s counsel for

         review.

         j.        An Order directing Defendant, by a date certain, to make publicly available and

         directly link from its website homepage, a statement of Defendant’s Accessibility Policy

         to ensure the persons with disabilities have full and equal enjoyment of its website and

         shall accompany the public policy statement with an accessible means of submitting

         accessibility questions and problems.

         k.        An award to Plaintiff of her reasonable attorney’s fees and costs pursuant to in 42

         U.S.C. §§12181-12189, and pursuant to such other laws and statutes that may apply, and

         further relief as the Court deems just and equitable.



  COUNT II – TRESPASS

  Plaintiff realleges paragraphs 1 through 53 as if set forth herein.

  75)    Defendant’s website contains software analytics.               Since Plaintiff has navigated

  Defendant’s website as stated herein, Plaintiff’s computer and the personal information and

  browsing history stored therein, has suffered a trespass by Defendant.




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  76)    Plaintiff never consented to and was unaware that Defendant’s website was placing

  software on her computer.

  77)    The “pop-up” or banner notice that appears on Defendant’s website does not properly

  audibilize the cookies policy in a way where a visually disabled person like the Plaintiff can

  properly understand or give informed consent to allow tracking cookies to be placed on her

  computer.

  78)    Defendant committed common law trespass in violation of Florida law against Plaintiff

  because Plaintiff did not consent to the placement of tracking and information securing software

  on her personal computer, which was done without her knowledge and consent.

  79)    Defendant’s trespass has damaged Plaintiff by affecting the condition and value of her

  computer.

  80)    On its website, Defendant has an internet privacy policy section that can only be accessed

  by clicking a barely visible section at the bottom of the page called “Cookies Policy”, providing

  that they use cookies and similar technologies to collect a consumer’s information and they obtain

  non-public information from their users for their own advertising and marketing purposes by

  placing software on its website that collects a website user’s preferences and internet browsing

  habits as follows:

         MARC JACOBS

         Ad and Cookie Policy - Marc Jacobs

         AD AND COOKIE POLICY

         WE USE COMMON TRACKING TECHNOLOGIES

         When you visit our Site, we collect information by automated means. To do

         this, we use Cookies and similar technologies, such as web beacons (including


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        pixels and tags) We also have third parties and partners that collect information

        on the Site this way. This Cookie Policy explains how we use Cookies, their

        purposes, and how you can control them. Our use of Cookies may involve the

        processing of personal information. For more information about our data

        protection practices, please visit our Privacy Policy.

        WHAT ARE COOKIES

        A “cookie” is a text file that websites send to a visitor’s computer or other

        Internet-connected device to uniquely identify the visitor’s browser or to store

        information or settings in the browser. A “web beacon”, also known as an

        Internet tag, pixel tag or clear GIF, links web pages to web servers and may be

        used to transmit information collected through Cookies back to a web server.

        We refer to all of these and similar technologies as “Cookies” for purposes of

        this Cookie Policy.

        INFORMATION WE OBTAIN THROUGH COOKIES

        The information we obtain through Cookies includes your device IP address,

        identifiers associated with your devices, types of devices connected to our

        services, web browser characteristics, device characteristics, language

        preferences, referring/exit pages, clickstream data, and dates and times of

        website visits.

        HOW TO CONTROL COOKIES

        The Site does not use non-essential Cookies unless you agree to their use

        through our Cookie Banner and Cookie Preferences Center. Your browser may

        also give you the ability to control Cookies. How you do so depends on the


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         type of Cookie. Certain browsers can be set to reject browser Cookies. To find

         out more about how to enable, disable, or delete Cookies from your web

         browser, please visit All About Cookies and Adobe.

         The Self-Regulatory Program for Online Behavioral Advertising program

         provides consumers with the ability to opt-out of having their online behavior

         recorded and used for advertising purposes. If you want to opt out,

         visit https://www.aboutads.info/choices/. Choices you make are both browser

         and device-specific.

         Cookie Settings

         HOW TO CONTACT US

         Marc Jacobs is responsible for the use of Cookies on the site. If you have any

         questions about this Cookie Policy, please contact us by e -mail

         at legal@marcjacobs.com. You also may write to: Marc Jacobs International

         LLC, 72 Spring Street, New York, New York 10012.

  Marc Jacobs
  81)   Due to Plaintiff’s disability, she could not understand Defendant’s website and she could

  not give informed consent to Defendant’s installation of data and information tracking software

  on her computer. Defendant also could not give informed consent to Defendant’s collection of her

  browsing history and the placement of analytics on her computer.

  82)    Thus, Plaintiff has no adequate remedy at law to redress Defendant’s knowing and reckless

  disregard for Plaintiff’s right to exclude others from her computer and determine which programs

  should be installed and operated on her computer.




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  WHEREFORE, Plaintiff demands judgment against Defendant for Plaintiff’s damages, interest,

  costs, and such further relief as the Court deems just and equitable.



                                    REQUEST FOR JURY TRIAL



       Plaintiff requests a jury trial.


                                                Submitted by:

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